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DIAGEO NORTH AMERICA, INC. v. MEXCOR, INC. and EJMV INVESTMENTS, LLC

                            Case No. 4:13-cv-856 (DH) (SWS)




                Exhibit 84 to Diageo North America,
               Inc.’s Motion For Summary Judgment
                As To Its Trademark Infringement,
                   Unfair Competition, And False
                    Designation Of Origin Claims
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                                                     Case No. 4:13-cv-856 (DH) (SWS)

                                                    JURY BEMMIBKB




I, Abby %ise, declare under penalty of perjury as follows:

          1.    I am the Brand Marketing Director for Crown      Royal whisky at

Diageo North America, Inc. ("Diageo"). I respectfully submit this declaration in

support    of Diageo's Motion For     Summary Judgment As To Its Trademark

Infringement,    Unfair Competition,    And False Designation   of Origin Claims

("Diageo's Motion" ). I have personal knowledge of the facts set forth in this

declaration, unless otherwise stated.

          2.    My responsibilities   include overseeing nearly every aspect   of the

Crown Royal        brand, including brand strategy and plans and execution     of these

plans. I work closely with the Crown Royal          brand's advertising   and promotion
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agencies such as Grey Group, Colangelo, and DigitasLBi to market Crown                         RoyalO&


whisky.        I also have overseen the development         and launch     of line extensions of

Crown Royal          whisky, such as Crown Royal             Maple Finished Canadian whisky.




                                                                     My responsibilities     give me

signif&cant knowledge        about the strength     of the CROWN ROYAL                 and Purple

Bag     marks, consumer perceptions            of these   marks, marketplace conditions for the

North American Whisky category, and sales, advertising,                    and promotion of'Crown

Royal whisky.

        3.         From my review        of documents concerning       the history   of Crown

Royal whisky,          I know that it has been sold for over         60 years, beginning in 1954

and that the Purple        BagO&   was introduced    in   1964.

Advertisin         And Promotion         M The   CROWN ROYAL And Pnr le Ba                         G~


Marks

          4.       My revie~   of Crown Royal whisky's              historical advertising    reveals

that since its introduction        in   1964, the iconic Purple Bag has been prominently

featured in Crown        Royal whisky advertisements.              Often, the advertisements        play

on the Purple       Bag,    as the true and correct copies        of historical   advertisements

attached to Diageo's Motion as Exhibits 2-6 demonstrate.

          5.       Indeed, the iconic Purple     Bag      is at the core   of the Crown      Roya10&


brand's identity.       For example, Diageo has run a promotion inviting Crown
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Royal whisky adorers to submit pictures of what they created using the purple

bag. Crown Royal            whisky consumers create all sorts        of things from the   purple

bags, including quilts and slippers.         In at least one instance, a Crown Roya10&

whisky fan reupholstered           his car with purple bags! Around the holidays, Diageo

runs a promotion in which consumers can request a personalized                message be

embroidered      on their purple bags, And the Crown Royal               Heroes Project

encourages legal drinking age adults to stuff camouflage-patterned               purple bags

with snacks and treats that Diageo sends to military personnel serving overseas.

       6.        In addition to the promotions involving the well-known            Purple      Bag,

Crown Royal            whisky has been extensively advertised and promoted in various

media in the United States, including through radio, television, print publications,

billboards, and the internet.        Indeed, both the CROWN ROYAL               and Purple

Bag    marks have been used in connection with sponsoring                sporting events like the

"Crown      Royalo&&    400" at the Indianapolis Motor Speedway,         and various rodeo and

football-related       events. Diageo has also sponsored Matt Kenseth's NASCAR

team. There is even a Crown Royal               whisky bar at Cowboys Stadium in Dallas.

       7.        Diageo's advertising and promotional expenditures            on behalf     of

Crown Royal            whisky are truly substantial,   and for the three-year period that

                                       dd~
  dd         J

has spent well over
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                                       advertising
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                                                     and promoting
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                                                                       Crown Royal
                                                                                          ll

                                                                                          whisky.
                                                                                                 g
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id     d.

Crown Royal
            g   g      P

                      whisky.
                             d   l         ~P                     y        d         g   dP          g




Crown Ro        al     %'hisk 's Ovenvhelmin             Success

        8.          Diageo's advertising and promotion of Crown Royal                     whisky has

made it the leading brand            of Canadian whisky, the second-best             selling North

American Whisky by volume in the United States, behind only Jack Daniels, and

one of the most successful spirits. Only Smirnoff vodka, Captain Morgan Spiced

rum, Bacardi Superior rum, and Jack Daniels Tennessee whiskey outsold Crown

Royal whisky           in   2011.    Put differently,   Crown Royal            whisky sells more whisky

than other famous brands like Jim Beam Kentucky Straight Bourbon Whiskey,

.lohnnie     Walker Scotch W'hisky, or Jameson Irish Whiskey.
                                                                                 '




        9.          Indeed, between July 1, 2002 and June 30, 2013 Diageo sold at least

                            PU         liylg        llkyl   ~ k       Ui       dg, llg~




  As the leading brand of Canadian whisky, Crown Royal whisky is sold in a wide variety of
'

trade channels, including bars, clubs, restaurants, liquor stores, mass retail outlets (e.g. , %'al-
Mart and Target), club retail outlets (e.g. Sam's Club and Costco), grocery stores, and other
                                                g


retail locations, as well as at sports games, concerts, and other entertainment events.
  Diageo's fiscal year begins on July l and ends on June 3Q of the following year.
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  Actual Confusion Caused          8   Mexeor's Crowvn Ro    al   Knockoff Whisk

      10.      I believe that Crown    Royal whisky's overwhelming        popularity    and


success inspired Mexcor, Inc. and EJMV Investments,        LLC (collectively

"Mexcor") to design packaging for their Canadian whisky that imitates Crown

RoyalO«whisky's       trade dress by, among other things, prominently    featuring the

word "crown" on its bottles, using a cloth drawstring     bags, and making the word

"crown" the most prominent word on that cloth drawstring bag.

      11.      Mexcor's packaging for its State] CROWN Club whisky is so similar
                                             I




to Crown Royalo& whisky that shortly after South Carolina CROWN Club whisky

was introduced,      I began receiving reports from our sales team that consumers


believed South Carolina CROWN Club was affiliated with Crown Royal                    whisky.

Accordingly,    I   led a team that looked into South Carolina CROWN Club.




       12.     Diageo was very concerned about the confusion being created by

South Carolina CROWN Club whisky, and there were a number               of internal    emails

concerning Mexcor's activities.
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        Pursuant   to 28 U. S,C,   )   1746,   I   declare under penalty of perjury under the

laws   of the United States of America that the foregoing is true        and correct.


Executed on May 19, 2014 in New York, New York.
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      I   HEREBY CERTIFY that pursuant to Fed. R. Civ. P, 5(b), on this 19th day

of May, 2014, a true   and correct copy   of the foregoing Declaration of Abby %ise        In


Support   Of Diageo North America, Inc. 's Motion For Summary Judgment As To Its

Trademark    Infringement,   Unfair Competition,   And False Designation     Of Origin

Claims was served upon the following counsel       of record   in this matter via   ECF:



William D. Raman
Steve A, Fleckman
Joseph M, Leak
Fleckman 4, McGlyn, PLLC
515 Contress Avenue, Suite 1800
Austin, Texas 78701

William A. Vv'orthington
Strasburger   4Price, LLP
909  Fannin Street, Suite 2300
Houston, Texas 77010

                                                      Is/Ben arnin M. Rattner
                                                        Benjamin M. Rattner
